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                                                               December 20, 2023

Via ECF

Hon. Jennifer H. Rearden
United States District Court
Southern District of New York
500 Pearl Street, Room 1010
New York, New York 10007

             Re:       The Charter Oak Fire Insurance Company v. Old
                       Republic General Insurance Corporation and Burgess
                       Steel Erectors of New York, LLC, No. 23 cv 05952-JHR
                       RR File No.: 004584-00517

Your Honor:

             Plaintiff, The Charter Oak Fire Insurance Company (“Travelers”), and Defendants, Old Republic

General Insurance Corporation (“Old Republic”) and Burgess Steel Erectors of New York, LLC (“Burgess

Steel”), submit this joint status letter in accordance with Your Honor’s October 26, 2023 Order.

            Counsel for the parties participated in a pre-settlement telephone conference with Magistrate Judge

Robert W. Lehrburger on November 22, 2023. After hearing from counsel, Magistrate Judge Lehrburger

ordered the parties to each submit a letter by December 6, 2023 advising whether each party believes a

settlement conference may be viable in this action. The parties did so and the settlement conference

scheduled for January 4, 2024 was cancelled. Travelers plans to file a motion for summary judgment after

the parties complete paper discovery.

            Travelers and Old Republic have exchanged initial disclosures, initial discovery demands, and

policies. Old Republic has responded to Travelers’ requests to admit. Burgess Steel has not yet served its


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  initial disclosures or discovery demands. By agreement among counsel, Travelers and Old Republic will

  respond to all previously-served discovery demands on or before December 22. Also by agreement among

  counsel, Burgess Steel will serve its initial disclosures and respond to all previously-served discovery

  demands on or before January 5. Depositions have not been conducted.

         Counsel for Icon Interiors, Inc. (“Icon”), in the underlying personal injury action filed by Alexander

  Johnson (the “Claimant”) and the related third-party action filed by Icon against Burgess Steel advises that

  Burgess Steel has not yet appeared in the third-party action. Counsel further advises that paper discovery

  has been exchanged in the main action but depositions, including the Claimant’s, have not yet been

  conducted.

  Respectfully submitted,

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